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CLEA EL,

stefanie chiguer <schiguer1@gmail.com>

4% Gmail

Pay.gov Payment Confirmation: DCD Criminal Debt

1 message

notification@pay.gov <notification@pay.gov>
To: Schiguer1@gmail.com

Ee An official email of the United States government

Your payment has been submitted to Pay.gov and the details are below. If you have any questions regarding this
payment, please contact Finance Office at (202) 354-3100 or DCDml_FinanceOffice@dcd.uscourts.gov.

Application Name: DCD Criminal Debt
Pay.gov Tracking ID: 27CO65JV
Agency Tracking ID: 76638543723

Transaction Type: Sale
Transaction Date: 02/17/2024 12:32:47 PM EST

Account Holder Name: Stefanie Chiguer
Transaction Amount: $250.00

Card Type: MasterCard

Card Number: ************3935

Case and Defendant Number: DDCX122CR000025-002

Defendant Name: Chiguer, Stefanie
Account Holder Name: Chiguer, Stefanie
Account Holder Phone: Mobile (603) 377-2532

Email: Schiguer1 @gmail.com

THIS IS AN AUTOMATED MESSAGE. PLEASE DO NOT REPLY.

Pay.gov is a program of the U.S. Department of the Treasury, Bureau of the Fiscal Service

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r-00025-APM Document 73-2 Filed 09/30/24 Page 2of3
U.S. Probation and Pretrial Services
DISTRICT OF MASSACHUSETTS

COMMUNITY SERVICE SIGN-IN/OUT

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U.S. Probation and Pretrial Services Office
439 South Union Street

Unit 103
Lawrence, MA 0184:

978-688-467)

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WHEN COMPLETED FAX TO:

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UNITED STATES PROBATION DEPARTMENT

Case 1:22-cr-00025-APM Document 73-2

VOLUNTARY PUBLIC SERVICE
SIGN IN/OUT VERIFICATION

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Page 3 of 3

NAME OF VOLUNTEER: MONTH: a sees
Date | Signature Time In | Service Performed Time Sara
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